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       Yana A. Hart, Esq. (SBN: 306499)
 1     yana@westcoastlitigation.com
 2     Hyde & Swigart
       2221 Camino Del Rio South, Suite 101
 3     San Diego, CA 92108
 4     Office Number: (619) 233-7770
       Office Fax Number: (619) 297-1022
 5
       Attorneys for Plaintiff
 6     Ali Sadrarhami
 7
 8
                                    UNITED STATES DISTRICT COURT
 9
                                  CENTRAL DISTRICT OF CALIFORNIA
10
11
             ALI SADRARHAMI, individually                        Case No.: 8:18-cv-00732-JFW-E
12           and on behalf of others similarly
13           situated,

14                              Plaintiff,                       NOTICE OF SETTLEMENT
15           v.

16           LIBERTY STUDENT LOAN
17           FORGIVENESS,

18                              Defendant.
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               NOTICE OF SETTLEMENT                          - 1! of 2! -            8:18-cv-00732-JFW-E
     Case 8:18-cv-00732-JFW-E Document 24 Filed 08/30/18 Page 2 of 2 Page ID #:100



 1           NOTICE IS HEREBY GIVEN that this case has been settled in its entirety.
 2     The Plaintiff anticipates filing a Request for Dismissal of this action in its
 3     entirety with prejudice within 60 days. Plaintiff requests that all pending dates
 4     and filing requirements be vacated and that the Court set a deadline on or after
 5     October 23, 2018 for filing a request for dismissal.
 6
 7     Respectfully submitted,
 8
 9     Date: August 24, 2018                      HYDE & SWIGART
10
11                                                  By: s/ Yana A. Hart
                                                          Yana A. Hart
12                                                        Attorneys for Plaintiff
13
14
       Date: August 24, 2018                      LAW OFFICE OF ALEXANDER W. WALLACE
15
16
                                                    By: s/ Alexander W. Wallace
17
                                                           Alexander W. Wallace
18                                                         Attorneys for Defendant
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            NOTICE OF SETTLEMENT                          - 2! of 2! -            8:18-cv-00732-JFW-E
